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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                        Plaintiffs,

        v.                                             Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                        Defendants.


                            STIPULATED PROTECTIVE ORDER

       1.      With the agreement of the parties, the Court having determined that there is good

cause for issuance of a protective order pursuant to Federal Rule of Civil Procedure 26(c) to govern

the disclosure, use, and handling by the parties and their respective agents, successors, personal

representatives and assignees of certain information and items produced and received in discovery

in the above-captioned action, IT IS HEREBY ORDERED as follows:

A.     Definitions

       2.      “Action” shall mean the case captioned National Treasury Employees Union, et al.

v. Vought, et al.. 1:25-cv-00381-ABJ (D.D.C.).

       3.      “Confidential Information” shall mean information that, at the time of its

production in discovery in the actions, or thereafter, is designated confidential by the Producing

Party because of a good faith belief that the information: (a) is a trade secret or other confidential

research, development, or commercial information as such terms are used in Federal Rule of Civil

Procedure 26(c)(1)(G); (b) is personal, financial, medical or other private information relating to
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an individual that would properly be redacted from any public court filing pursuant to Federal Rule

of Civil Procedure 5.2; or (c) is information protected by the provisions of the Privacy Act of 1974,

5 U.S.C § 552a.

       4.      “Disclose” (or forms thereof) shall mean to distribute, provide, or otherwise make

available for access, viewing, or copying. “Disclose” shall include the actual covered document

or item as well as the contents or information contained therein, such that disclosing a copy,

summary, paraphrasing, or characterization would be considered a disclosure of the document

itself for purposes of this Protective Order.

       5.      “Document” shall mean all items listed in Federal Rule of Civil Procedure

34(a)(1)(A) & B.

       6.      “Challenging Party” shall mean any party who challenges the designation of

information as Confidential Information under this Protective Order.

       7.      “Designating Party” shall mean the party or other person producing in discovery in

the Actions any information that the Producing Party seeks to designate and have treated as

Confidential Information pursuant to this Protective Order.

       8.      “Producing Party” shall mean the person or party producing in discovery in the

Actions.

       9.      “Receiving Party” shall mean any party who receives information that has been

designated as Confidential Information.

       10.     Personally identifying information (“PII”) includes personal information—such as

but not limited to addresses, telephone numbers, email addresses, and any other contact

information—of non-deponents and non-defendants. Names, in and of themselves, are not PII.




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B.      Purpose, Scope, and Limitations of Protective Order

        11.     This Protective Order applies to discovery, pre-trial, trial (to the extent approved

by the Court), and post-trial proceedings in these actions, whether the Documents are produced by

a party or a person or entity who is not a party to these actions (a “non-party”). This Order binds

the Parties and their respective agents, successors, personal representatives, and assignees.

        12.     Nothing in this Protective Order supersedes existing independent statutory, law

enforcement, national security, or regulatory obligations imposed on a Party, and this Protective

Order does not prohibit or absolve the Parties from complying with such other obligations.

        13.     This Protective Order shall not prejudice any party’s ability to challenge the use or

disclosure of information other than information designated as Confidential Information under this

Protective Order in these Actions. A party’s compliance with the terms of this Protective Order

shall not operate as an admission that any particular material is or is not (a) confidential, (b)

privileged, or (c) admissible in evidence at trial.

        14.     The protections conferred by this Protective Order do not cover any information (i)

properly in the public domain; (ii) that becomes part of the public domain after its disclosure to a

Receiving Party as a result of publication not involving a violation of this Protective Order,

including becoming part of the public record in these Actions through trial or otherwise; or (iii)

known to the Receiving Party prior to the disclosure or obtained by the Receiving Party after the

disclosure from a source who obtained the information lawfully and under no obligation of

confidentiality to the Producing Party.

        15.     This Protective Order does not govern the use by the Parties of Confidential

Information in open court at any hearing or trial, but the Parties reserve the right to seek relief from

the Court in connection with the intended use of Confidential Information in any such hearing or



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trial. See also ¶ 40 (setting forth the process to publicly disclose Confidential Information and

PII).

         16.   This Protective Order governs the disclosure, use, and handling of all Confidential

Information, regardless of the format or medium in which such Confidential Information is

generated, stored, or maintained.

         17.   Any Confidential Information referenced in any public pleading or contained in any

Document publicly filed with the Court in these Actions by the Producing Party shall at the time

of such public filing cease to be Confidential Information.

         18.   Nothing in this Protective Order shall restrict the right of any Producing Party to

use its own Confidential Information for any purpose whatsoever, but if any such use results in a

disclosure that causes the Confidential Information to lose its designation as Confidential

Information, then it shall no longer be subject to any protection under this Protective Order.

         19.   This Protective Order applies only to disclosures, uses, and handling of

Confidential Information occurring after the entry of this Protective Order.

         20.   Neither the termination of these Actions nor the termination of employment of any

person who has had access to any Confidential Information shall relieve such person of his or her

obligations under this Protective Order, which shall survive.

         21.   Any party may at any time seek modification of this Order by agreement or, failing

agreement, by motion to the Court.

C.       Method for Designating Confidential Information

         22.   Designations of Confidential Information shall be made by the Producing Party,

prior to or at the time of production, except as otherwise provided by this Protective Order.

         23.   The Designation of Confidential Information should be limited only to those



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Documents or portions of Documents that qualify under the appropriate standards or under the

definition of “Confidential Information” in Paragraph 3 of this Protective Order.

          24.    For documents designated under this Protective Order that are produced in paper or

an electronic form that allows endorsements or similar designation on the image, the designation

shall appear by the inclusion of the marking of “Confidential Information – Subject to Protective

Order” on each page of the document asserted to contain Confidential Information. For electronic

information that is provided in native form or a format that is not amenable to visible endorsement

on the image, the file name(s) shall begin with “Confidential – Subject to Protective Order”1 Any

copying or transferring of electronic files that are designated as Confidential Information must be

done in a manner that maintains the protection for all copies.

          25.    For interrogatory answers and responses to requests for admissions, designation of

Confidential Information shall be made by placing within each interrogatory answer or response

to requests for admission asserted to contain Confidential Information the following: “Confidential

– Subject to Protective Order.”

          26.    For depositions, designation of Confidential Information shall be made by letter

from counsel within thirty (30) days of receipt of the official deposition transcript or copy thereof

(or written notification that the transcript is available), listing the specific pages and lines of the

transcript and/or any exhibits that should be treated as Confidential Information. Prior to the

expiration of the above referenced 30-day period, the entire deposition transcript (including any

exhibits not previously produced in discovery in these Actions) shall be treated as Confidential

Information under this Protective Order until the expiration of the 30-day period for designation,

except that the deponent (and his or her counsel, if any) may review the transcript of his or her



1
    The original metadata of the native files should be retained pursuant to the parties’ agreement.
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own deposition during the 30-day period subject to this Protective Order and the requirement of

executing the certification attached as Exhibit A. After designation of Confidential Information is

made, the following shall be placed on the front of the original and each copy of a deposition

transcript containing Confidential Information: “Confidential – Subject to Protective Order.” If

the deposition was filmed, both the recording storage medium (i.e. CD or DVD) and its container

shall be labeled “Confidential – Subject to Protective Order.”

       27.     For any other Document or item produced in discovery in these Actions not falling

within Paragraphs 24 to 26 above, designation of Confidential Information shall be made by

labeling the item or the item’s container with “Confidential – Subject to Protective Order.”

D.     Challenging Confidential Designations

       28.     A Challenging Party shall not be obliged to challenge the propriety of a

Confidential Information designation at the time made, and a failure to do so shall not preclude a

subsequent challenge thereto.

       29.     The Challenging Party shall initiate a challenge to the designation of any

Confidential Information under this Protective Order by providing to the Designating Party (a)

written notice of each designation it is challenging and (b) a description of the basis of each

challenge.

       30.     The Challenging Party and the Designating Party shall attempt to resolve each

challenge in good faith and must begin a meet and confer process within seven (7) calendar days

after the Designating Party receives notice from the Challenging Party. During the conferring

process, the Challenging Party must convey its basis for the challenge and the Designating Party

must have an opportunity to review the applicable documents and either keep or change the

designation. The Designating Party must communicate its decision(s) to the Challenging Party



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within fourteen (14) calendar days after receipt of notice of the challenge, or within a reasonable

time agreed to by the Parties.

        31.     If the Designating Party decides to withdraw or change its designation, it shall give

notice of this change to all parties.

        32.     If the Challenging and Designating Parties cannot come to a resolution within the

time set forth in Paragraph 31 or as otherwise agreed, the Designating Party shall have 20 days

from the receipt of the written challenge notice to file a motion requesting that the Court determine

whether the challenged material is, in fact, entitled to protection and that, if so, the Court issue a

protective order requiring that the challenged material not be disclosed. The Designating Party

bears the burden of establishing that the challenged material is entitled to protection.

        33.     Any material designated as Confidential Information that is the subject of a

challenge shall remain subject to this Protective Order until the Court rules on the Designating

Party’s motion or, if no motion is made, until the time for the Designating Party to bring a motion

has expired. Failure by the Designating Party to make such a motion within the applicable time

period for doing so shall automatically waive the confidentiality designation for each challenged

designation.

        34.     Any information designated as Confidential Information pursuant to this Protective

Order shall be treated as Confidential Information until such time as (a) the Designating Party

agrees that it shall no longer be treated as Confidential Information or (b) the Court rules that such

information should not be treated as Confidential Information.

E.      Disclosure, Use, and Handling of Confidential Information

        35.     A Receiving Party may use Confidential Information in connection with these

Actions only for prosecuting, defending, or attempting to settle these Actions, and shall disclose



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such Confidential Information only in accordance with the terms of this Protective Order.

       36.      Counsel of record are responsible for employing reasonable measures, consistent

with this Protective Order, to control access to and secure distribution of Confidential Information.

       37.      Confidential Information shall only be disclosed, summarized, described,

characterized, or otherwise communicated or made available in whole or in part to the following

persons:

             a. Counsel (including outside counsel) for the Parties, including associated personnel

                necessary to assist counsel in this Action, such as litigation assistants, paralegals,

                and litigation support, information technology, information or records

                management, investigative, secretarial, or clerical personnel;

             b. Current employees of the Parties who are assisting with respect to this Action;

             c. Any person with prior authorized access to the Confidential Information;

             d. Current employees of the Producing Party;

             e. Witnesses, potential witnesses, and deponents, including their counsel;

             f. Court reporters and other persons not employed by this Court, retained to record or

                transcribe testimony or argument at interviews or depositions in connection with

                this Action;

             g. Photocopying, data processing, and other support services that are reasonably

                necessary to litigation in this Action;

             h. Retained expert witnesses and consultants;

             i. Mediators or arbitrators; and

             j. This Court (including any judicial officer to whom this Court may refer this matter

                for settlement purposes), jurors, and Court personnel, including persons recording



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                    or transcribing testimony or argument at a conference, hearing, trial, or appeal in

                    this Action.

         38.        Persons receiving Confidential Information pursuant to the terms of this Protective

Order are prohibited from disclosing it to any person except in conformance with this Protective

Order.

         39.        Neither this Order, nor any confidentiality designation under it, is a sufficient basis

for sealing court records. The procedure for filing Protected Material with the Court shall be as

follows:

               a.          If the filing party is the Designating Party, it shall not move to seal any

                    material that it does not, in good faith, believe meets the legal standard for sealing—

                    even if it has previously marked such material confidential under this Order. If,

                    after evaluating in good faith whether the information meets the legal standard for

                    sealing, the Designating Party still seeks to file information under seal, it must file

                    a motion to seal, demonstrating with particularity that each document or portion

                    thereof that the party seeks to seal meets the legal standard for sealing. This motion

                    must be accompanied by a declaration that specifically identifies each document or

                    portion thereof the party seeks to seal and provides a factual basis for the party’s

                    claim that sealing is warranted. Unless the party believes in good faith that an entire

                    document meets the standard for sealing court records, it shall also file a redacted

                    version of the document on the public docket.

               b.          If the filing party is not the Designating Party, it must file the Protected

                    Material provisionally under seal, accompanied by a declaration explaining that the

                    Protected Material is filed under seal only provisionally to give the Designating



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               Party an opportunity to file a motion to seal; identifying the specific documents or

               portions thereof that have been designated confidential; and identifying the

               Designating Party. Unless an entire document is marked confidential, the filing

               party shall also file a public version of the document, with the Protected Material

               redacted, on the public docket.

                       If the Designating Party believes in good faith that the Protected Material

               should be sealed, it must file a motion to seal within seven (7) days. This motion

               must be accompanied by a declaration that specifically identifies each document or

               portion thereof the Designating Party seeks to seal and provides a factual basis for

               the Designating Party’s claim that sealing is warranted.

                      Absent an order granting an extension, if the Designating Party does not file

               a motion to seal within this deadline, it waives the right to have the material sealed,

               and the filing party shall file it on the public docket within seven (7) days of the

               deadline passing. If the Designating Party does file such a motion, the material will

               remain under seal provisionally unless and until the Court rules otherwise.

       40.     If a Receiving Party or anyone subject to this Protective Order receives a subpoena

under Fed. R. Civ. P. 45 (or an equivalent mechanism under state law) seeking Confidential

Information as designated in these Actions, the Receiving Party or such individual shall promptly

notify the Designating Party and shall not disclose any Confidential Information until the

Designating Party has had a reasonable opportunity to inform the subpoenaed person or the

Receiving Party either (a) that the Designating Party does not object to the production of the

Confidential Information or (b) that the Designating Party will seek appropriate relief or protection

from the proper Court to prevent the production. The Designating Party shall bear the burden and



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expense of seeking protection of its designated Confidential Information, and nothing in this

Protective Order should be construed as authorizing or encouraging a subpoenaed person to

disobey a lawful directive from this or another court.

       41.     If the need arises for any party to disclose Confidential Information in a proceeding

in open Court, it may do so only after giving one (1) business day notice to the Producing Party

who, after a good faith effort to meet-and-confer, may seek additional relief from the Court.

F.     Inadvertent Production of Confidential Information

       42.     Nothing herein shall be deemed or construed as a waiver of any applicable

privilege, right of privacy, or proprietary interest with respect to any information or item. The

Parties agree to follow Fed. R. Civ. P. 26(b)(5)(B) with respect to any inadvertently or

unintentionally produced or disclosed Confidential Information.

       43.     If a Receiving Party learns that, by inadvertence or otherwise, it, or a person to

whom it has disclosed Confidential Information in accordance with this Protective Order, has

disclosed Confidential Information to any person or in any circumstance not authorized under this

Protective Order, the Receiving Party shall, upon learning of the unauthorized disclosure: (a)

promptly notify the person(s) to whom the unauthorized disclosure was made that the unauthorized

disclosure contains Confidential Information subject to this Protective Order; (b) promptly make

all reasonable efforts to obtain the return or destruction of the Confidential Information and to

prevent further unauthorized disclosures of the Confidential Information, including requesting the

person who received the unauthorized disclosure to agree to be bound by the terms of this

Protective Order by executing a declaration in the form attached as “Exhibit A”; and (c) within

five (5) calendar days notify the Producing Party and all other Parties of the identity of the

person(s) to whom the unauthorized disclosure was made, the circumstances surrounding the



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disclosure, and the steps taken to prevent any use or further disclosure of the Confidential

Information that was the subject of the unauthorized disclosure.

G.     Duration

       44.     Even after final disposition of this litigation, the confidentiality obligations

imposed by this Order shall remain in effect unless and until a Designating Party agrees otherwise

in writing or a court order otherwise directs.

       IT IS SO ORDERED.



DATED:

                                                      ______________________________
                                                      AMY BERMAN JACKSON
                                                      United States District Judge




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                                          EXHIBIT A

                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY                 EMPLOYEES
 UNION, et al.,

                    Plaintiffs,
                                                            Case No. 1:25-cv-00381-ABJ
        v.

 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                   Defendants.

                                       CERTIFICATION

   1. My name is________________________________________________________

   2. I have read the Protective Order that has been entered in this case, and a copy of it has been
      given to me. I understand the provisions of the Protective Order, and agree to comply with
      and to be bound by its provisions. I also consent to the jurisdiction of this Court for
      purposes of enforcement of the Protective Order.

   3. I declare under penalty of perjury that the foregoing is true and correct.



Executed this ___ day of _____________ by __________________________________
                                             (Print Name)



Signed____________________________




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